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        Representative
        Images RB case
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              FDG-PET/CT
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               Cingulate                                              Precuneous
               sulcus

                                                                              Parieto-occipital
         Cingulate gyrus
                                                                              sulcus




                                               Sagittal


 Two key structures to recognize are the cingulate gyrus and the overlying precuneus cortex,
  which are best appreciated on sagittal images of the medial hemispheres.
 The cingulate gyrus, located adjacent to the corpus callosum, is affected early in
  neurodegenerative disorders.
 The precuneus lies cephalad to the posterior cingulate gyrus and is bounded anteriorly by
  the cingulate marginal sulcus and posteriorly by the parieto-occipital sulcus




                                                                                        RadioGraphics 2014; 34:684–701



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  Case 4:21-cr-00009 Document 234-29 Filed on 12/03/21 in Precuneous
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  Cingulate
  sulcus
  Cingulate gyrus                                               Parieto-occipital
                                                                sulcus

                                                                   RadioGraphics 2014; 34:684–701



Sagittal view                                             Sagittal view

                                 FDG 03/12/2021




                                Blue = −2 SDs, purple = −3 SDs

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                                                                               Occipital Lobe



                                                                                   RadioGraphics 2014; 34:684–701



               Sagittal view                                              Sagittal view

                                                 FDG 03/12/2021




No hypometabolism in the occipital lobes was seen , including the primary visual cortex a finding
associated with Dementia with Lewy bodies (DLB).
DLB is also associated with normal FDG uptake in the cingulate gyrus. This patient has decreased
activity in the cingulate gyrus and precuneous, most consistent with early AD.
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Voxel-based analysis results normalized to whole brain:
3D Stereotactic surface projection (SSP)




                                                                                   Colors scale means
                                                                                   decreased
                                                                                   metabolic activity




                                                                      Blue = −2 SDs, purple = −3 SDs

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Voxel-based analysis results normalized to whole brain:
3D Stereotactic surface projection (SSP)



                                                                           Precuneous
                                                                                Cingulate Gyrus

                                                                            Parietal
                                                                             Posterior
                                                                              temporal lobe




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               FDG PET/CT
           Scan date:8/24/2021




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Voxel-based analysis results normalized to whole brain:
3D Stereotactic surface projection (SSP)


                                                                  Precuneous
                                                                  Cingulate Gyrus
                                                                  Parietal
                                                                  Posterior
                                                                   temporal




                                                                           FDG 8/24/2021


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                                                             Precuneous
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     Cingulate
     sulcus

                                                                    Parieto-occipital
Cingulate gyrus
                                                                    sulcus

                                                                       RadioGraphics 2014; 34:684–701



   Sagittal view                                             Sagittal view




                                   Blue = −2 SDs, purple = −3 SDs                     FDG 8/24/2021

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                                                               Occipital Lobe



                                                                    RadioGraphics 2014; 34:684–701



Sagittal view                                             Sagittal view

                               FDG 8/24/2021




                                Blue = −2 SDs, purple = −3 SDs

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FDG 03/12/2021                                            FDG 8/24/2021




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   Brain amyloid PET/CT
(F-18 florbetapir, amyloid)
       (07/28/2021)




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                Brain amyloid PET/CT

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                                     Brain amyloid PET/CT




Normal cortical-white matter contrast in the cerebellum (reference region)



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Example Case of β-amyloid negative PET assessment
  (NOT the evaluated patient):
 β-amyloid negative PET assessment shows tracer binding in the white matter tracts with a “winter tree”
     Example
configuration andNegative   β-amyloid
                  convex configuration    PET by tracer deposition
                                       caused              Patientin Positive  β-amyloid
                                                                     the white matter with anPET
                                                                                              absence of
uptake in the midline grey matter cerebral cortex




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               Case 4:21-cr-00009 Document 234-29 Filed on 12/03/21 in TXSD Page 17 of 20
 PATIENT: β-amyloid positive PET show tracer binding in the cerebral cortex gives a
“summer tree” configuration.
                                  Positive β-amyloid PET Positive β-amyloid PET
                                                 Patient




                                                                                       07/28/2021
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A. Example Case ofCase  4:21-cr-00009 Document 234-29 Filed on 12/03/21 in TXSD Page 18 of 20
                    β-amyloid    negative: PET assessment shows tracer binding in the white matter
tracts with a “winter tree” configuration and convex configuration caused by tracer deposition in
the white matter with an absence of uptake in the midline grey matter cerebral cortex
     Example Negative β-amyloid PET
A                                             B




Example Case of β-amyloid negative                Patient RB Positive β-amyloid PET




B. PATIENT RB: β-amyloid positive PET show tracer binding in the cerebral cortex gives
a “summer tree” configuration.
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      Brain amyloid PET/CT



    “kissing hemisphere sign”                        “temporal plain”




                                                                    Example Case of negative
07/28/2021
                                                                    amyloid
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                                                                        07/28/2021
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